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1                                                   The Honorable Robert J. Bryan

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8                      UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF WASHINGTON
9
      STATE OF WASHINGTON,                   CIVIL ACTION NO. 3:17-cv-05806-RJB
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                        Plaintiff,
11                                           STATE OF WASHINGTON’S
               v.                            RESPONSE TO THE COURT’S
12                                           PROPOSED ORDER GRANTING
      THE GEO GROUP, INC.,                   SUMMARY JUDGMENT OF
13                                           DISMISSAL (ECF NO. 306)
                        Defendant.
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1                                            I.         INTRODUCTION

2             Washington submits this response to the Proposed Order and the Court’s invitation to the

3    parties to “respond to point out errors” in the Proposed Order, including issues “regarding the

4    record.” ECF Nos. 306; 306-1. Respectfully, the Court’s Proposed Order contains important

5    errors of law, relies on alleged facts not in the record, and is premised on an overbroad view of

6    intergovernmental immunity that is unsupported by the cases cited. If issued, the Proposed Order

7    will have significant ramifications that extend far beyond this case: It stands to exempt

8    government contractors from neutral, generally applicable laws and taxes to which they have

9    long been subject, and that, like Washington’s Minimum Wage Act (MWA), are in no way

10   discriminatory. It also would dismiss the stand-alone unjust enrichment claim in this case on

11   grounds that are contrary to well-established law and overwhelming record evidence, effectively

12   eliminating the only mechanism available to remedy the injustice to detainee workers at the

13   NWDC. The Proposed Order should not be entered and the case should remain set for trial in

14   March 2020.1

15                                                II.     ARGUMENT

16            In 2018, the Court rejected dismissal based on intergovernmental immunity after

17   properly comparing GEO with similarly situated entities, i.e., other private contractors. See ECF

18   No. 162 at 9. The Court correctly concluded that intergovernmental immunity cannot bar

19   Washington’s neutral and generally applicable MWA because the treatment of private

20   contractors under Washington’s MWA is the same, regardless of whether those contractors deal

21   with the federal or state government. Id. There is no discrimination or unfair treatment against

22   the federal government or its contractors under the MWA, as both the federal and Washington

23   governments face the same choice: use government facilities and be exempt from Washington’s

24
              1
              Because the Proposed Order reflects the Court’s reliance on extra-record facts that are not accurate, see
25   ECF No. 306-1 at 8 n.3, and because the Court explicitly seeks “to give the parties more opportunity for input,”
     ECF No. 306 at 1, Washington concurrently submits declarations it was able to secure in this short briefing
26   window that are intended to address the Court’s newly raised factual questions.


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1    MWA, or use private contractors and comply with it. None of the cases issued since the Court’s

2    2018 order, nor the selective facts GEO raised during and after oral argument, change that

3    analysis.

4            The Court’s proposed dismissal of the entire case, including Washington’s unjust

5    enrichment claim, also constitutes manifest error because no party sought such relief or set forth

6    the elements of the unjust enrichment claim in any briefing regarding intergovernmental

7    immunity. The one sentence dismissing it contains legal and factual errors and inadequate

8    specificity to constitute proper notice or enable Washington to formulate a considered response.

9    Accordingly, the Court should decline to issue the Proposed Order and should allow both claims

10   to proceed to trial.

11
     A.      The Court’s Proposed Ruling Dismissing Washington’s MWA Claim Contains
12           Significant Errors of Law

13           A proper analysis compels the result the Court reached the first time it considered

14   intergovernmental immunity: Washington’s MWA does not discriminate against the federal

15   government or its contractors. ECF No. 162 at 9. The Court’s Proposed Order, in contrast,

16   contains multiple errors of law, including: (1) the inaccurate application of the Supreme Court’s

17   “functional approach,” as set forth in North Dakota v. United States, 495 U.S. 423 (1990); (2)

18   the use of an improper comparator under Dawson v. Steager, 139 S. Ct. 698 (2019), and other

19   authority, when analyzing whether treatment of GEO is discriminatory; and (3) a misapplication

20   of United States v. California, 921 F.3d 865 (9th Cir. 2019), which squarely held that federal

21   contractors like GEO can lawfully be subject to neutral and generally applicable state laws—

22   even in the operation of an immigration detention facility. Each error is addressed below.

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1           1.      North Dakota’s “Functional Approach” Forecloses the Overbroad View of
                    Intergovernmental Immunity Articulated in the Court’s Proposed Order
2

3           First, the Court references the “functional approach” to intergovernmental immunity but

4    does not cite or address the key case that explained that approach, North Dakota v. United States,

5    495 U.S. 423, 434-35 (1990). See ECF No. 306-1 at 5. Instead, the Proposed Order

6    misapprehends the “functional approach” and fails to appreciate that the Supreme Court

7    explicitly authorizes states to enforce neutral, non-discriminatory laws against private

8    contractors that do business with the federal government.

9           The Supreme Court in North Dakota recognized that the correct approach to claims of

10   intergovernmental immunity is a “functional approach” that “accomodate[s] the full range of

11   each sovereign’s legislative authority.” 495 U.S. at 434-35. In contrast to prior modes of analysis,

12   the Supreme Court’s “functional approach” recognizes that state laws may impose burdens on

13   the federal government without raising constitutional concerns as long as they regulate federal

14   suppliers or contractors in a non-discriminatory manner. Id. Such burdens, the Supreme Court

15   explained, “are but normal incidents of the organization within the same territory of two

16   governments.” Id. at 435 (internal citations omitted). North Dakota described the required

17   approach as “functional” in the course of rejecting a more absolute rule: that any regulation that

18   implicates the federal government is unconstitutional. Id. at 434.

19          Properly understood, the functional approach recognizes that (1) neutral, generally

20   applicable laws apply to private businesses like GEO even when they deal with the federal

21   government; and (2) the fact such laws impose costs on the contractor and, indirectly, the United

22   States, does not make them discriminatory or otherwise unconstitutional—even where an

23   economic burden may result. Indeed, the North Dakota Court made clear: A state law does not

24   run afoul of intergovernmental immunity merely because a generally applicable state regulation

25   “make[s] it more costly for the Government to do its business.” 495 U.S. at 434 (describing that

26   theory as “thoroughly repudiated”) (citing cases). Likewise, the Court explained that a law does


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1    not implicate intergovernmental immunity where it “is imposed on some basis unrelated to the

2    object’s status as a [federal] Government contractor” and is “imposed equally on other similarly

3    situated constituents of the State.” Id. at 438.

4            Applying these principles, the North Dakota Court upheld state laws that regulated

5    federal government suppliers (and all other liquor retailers in the state) as part of a statewide

6    regulatory regime that served legitimate state interests. Id. at 438-39. The state laws placed no

7    discriminatory burdens upon the federal government by requiring its out-of-state suppliers to

8    comply with the labeling requirements. Id. Other courts applying this approach have correctly

9    recognized the same essential aspects of the functional approach, rejecting overbroad

10   intergovernmental immunity claims that sought exemptions for private companies or others with

11   whom the federal government dealt based on their relationship with the federal government

12   rather than the discriminatory nature of the regulatory regime. See, e.g., Washington v. United

13   States, 460 U.S. 536, 545 (1983) (upholding state tax law where “[t]he tax on federal contractors

14   is part of the same structure, and imposed at the same rate, as the tax on the transactions of

15   private landowners and contractors”); U.S. Postal Serv. v. City of Berkeley, No. C16-04815

16   WHA, 2018 WL 2188853, at *3 (N.D. Cal. May 14, 2018) (finding no discriminatory treatment

17   of the federal government or those with whom it dealt (potential buyers of a post office building)

18   where city’s historic district designation, which was “imposed equally on other similarly situated

19   constituents of the State,” limited government’s options for selling or renovating an old post

20   office); In re Nat’l Sec. Agency Telecomms. Records Litig., 633 F. Supp. 2d 892, 904 (N.D. Cal.

21   2007) (rejecting intergovernmental immunity claim where laws at issue “regulate equally all

22   public utilities, making no distinction based on the government’s involvement”).

23           Here, the Proposed Order misunderstands the analysis required by North Dakota, which

24   directs courts to focus on the terms of the challenged state law. Instead of doing that, the

25   Proposed Order applies the “functional approach” by selecting one GEO facility and one State

26   facility and purporting to inquire about what is “actually happening” at each of them.


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1    ECF No. 306-1 at 7.2 That is not the correct mode of analysis. Courts applying the functional

2    approach ask whether the state law itself is discriminatory—they do not conduct a selective

3    comparison of what is “actually happening” on the ground at two dissimilar institutions. See,

4    e.g., North Dakota, 495 U.S. at 435 (courts must examine “the entire regulatory system” for

5    discrimination and not focus on particular claims “in isolation”); California, 921 F.3d at 872-73

6    (analyzing what requirements relevant legal provisions imposed upon facilities holding

7    immigration detainees and other facilities); Berkeley, 2018 WL 2188853, at *4 (rejecting United

8    States’ reliance on fact that Postal Service was only entity currently affected by neutral ordinance

9    as basis for asserting that ordinance was discriminatory, calling such a “sweeping theory”

10   unsupported and explaining that under that theory, “it would be virtually impossible to impose

11   any regulation—no matter how objective or sincerely neutral—on a group of constituents that

12   happened to include the federal government or those with whom it deals”); In re Nat’l Sec.

13   Agency Telecomms. Records Litig., 633 F. Supp. 2d at 904 (rejecting attempt to focus on the

14   individual investigation as “treat[ing] the Government differently” because “the regulatory

15   regime as whole treats any unauthorized disclosure the same”). The Court’s Proposed Order,

16   therefore, conflicts with the analysis that the Supreme Court requires. The Proposed Order

17   should not issue.

18
             2.       The Proper Comparator Under North Dakota and Dawson Is a Similarly
19                    Situated Private Contractor—Not the State Government

20           The second fundamental flaw in the Proposed Order is its assumption that the proper

21   comparison for intergovernmental immunity purposes should be between the State and GEO.

22   See ECF No. 306-1 at 7-8. That is incorrect as a matter of law.

23           For intergovernmental immunity purposes, the proper comparator for GEO, a private

24   contractor that deals with the federal government, is a similarly situated private contractor that

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               Additional facts regarding programming at the Special Commitment Center, the comparator offered by
26   the Proposed Order, ECF No. 306-1 at 8 nn.2-3, are provided in Section II(B).


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1    deals with the state government. Another way to consider this point is set forth in the following

2    chart showing to whom the Washington MWA applies:

3                           Does the Washington State Minimum Wage Apply?

4                                      Government Institution        Private Contract Facility
5
              Federal Detainees        No                            Yes
6
              State Detainees          No                            Yes
7

8    As the chart illustrates, the treatment under the MWA is the same for the federal and state

9    governments (MWA does not apply); and for private contractors regardless of with whom they

10   deal (MWA does apply). There is no difference based on one’s status as a federal contractor.

11          North Dakota, Dawson, and other authority analyzing claims of intergovernmental

12   immunity confirm that the analysis must focus on whether GEO, a private contractor that deals

13   with the federal government, is treated differently than a similarly situated private contractor that

14   deals with the state government—not whether a private contractor is treated differently than the

15   State itself. In particular, North Dakota makes clear that the question is whether the state

16   regulation is imposed on a basis unrelated to the entity’s status as a federal contractor. North

17   Dakota, 495 U.S. at 438. There is no intergovernmental immunity issue if the entity would be

18   subject to the regulation, or if the burden is the same, regardless of its status as a federal

19   contractor. Id.

20          Here, that is unquestionably the case. The MWA applies to GEO based on its status as

21   an employer in Washington, not its status as a federal contractor. There are no heightened

22   requirements or specialized burdens imposed upon GEO because of its relationship with the

23   federal government. In other words, it is not “more expensive” for GEO to run a private detention

24   facility for the federal government than it would be to run a private detention facility for

25   Washington’s state government. Cf. ECF No. 306-1 at 8. Instead, both governments face the

26   same choice: Use their own facilities to hold detainees and avoid the application of the MWA,


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1    or use a contractor’s facility in Washington to hold detainees and comply with the MWA. In

2    arguing to the contrary, GEO and the United States conflate the lack of special treatment with

3    discrimination.3 But intergovernmental immunity does not oblige the Court to confer special

4    treatment upon GEO, treatment which other private businesses in Washington―even those who

5    deal with state government―do not receive.

6            The Supreme Court’s recent decision in Dawson v. Steager supports Washington’s

7    position about the appropriate comparator to GEO. In Dawson, a state exempted some of its

8    constituents—retirees who received state retirement benefits—from certain state income

9    taxation on those benefits, but did not exempt from taxation similarly situated retirees who

10   received federal retirement benefits. 139 S. Ct. at 703-04. The treatment of retirees differed

11   depending on whether they collected benefits from the federal or state government—the

12   “similarly situated” entity to Mr. Dawson, a former U.S. Marshal, was another retiree who had

13   performed the same or similar job for the state government. Id. (“[e]veryone accepts the trial

14   court’s factual finding that there aren’t any ‘significant differences’ between Mr. Dawson’s

15   former job responsibilities and those of the tax-exempt state law enforcement retirees. Given all

16   this, we have little difficulty concluding that West Virginia’s law unlawfully ‘discriminate[s]’

17   against Mr. Dawson ‘because of the source of [his] pay or compensation’”) (citation omitted).

18   See also Davis v. Mich. Dep't of Treasury, 489 U.S. 803, 817 (1989) (holding the Michigan

19   Income Tax Act violates principles of intergovernmental tax immunity by favoring retired state

20   and local government employees over retired federal employees). In both cases, the proper

21   comparison was between an individual who dealt with the federal government and an individual

22   who dealt with the state government. Nowhere did the Supreme Court in Dawson or Davis

23

24
             3
               Washington reiterates both its objection to the United States’ Statement of Interest and Supplemental
25   Statement of Interest, which were untimely, and its objection to GEO’s argument made only in reply that
     Washington’s enforcement of the MWA constitutes “direct regulation” for intergovernmental immunity purposes
26   See ECF Nos. 290, 298, 299.


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1    suggest that the proper comparison is between an individual taxpayer and the state government

2    itself.

3               Dawson’s focus on the scope of any legislative exemption further supports Washington

4    here. In analyzing the scope of the tax exemption at issue in that case, the Supreme Court

5    recognized that the “breadth or narrowness of a state tax exemption” is relevant to determining

6    the scope of any corresponding immunity. Dawson, 139 S. Ct. at 704. The Court explained that

7    “if a State exempts from taxation all state employees, it must likewise exempt all federal

8    employees. Conversely, if the State decides to exempt only a narrow subset of [state employees,

9    i.e.,] retirees, the State can comply with [intergovernmental tax immunity principles] by

10   exempting only the comparable class of federal retirees.” Id. Thus, under Dawson’s

11   straightforward analysis, there is no intergovernmental immunity problem here. As Washington

12   explained (and the Court appears to agree), private contractors dealing with Washington are not

13   exempt under Washington’s MWA; therefore, they need not be exempt when they deal with the

14   federal government. The scope of the exemption corresponds to any potential immunity here—

15   and there is no basis to extend the scope of immunity beyond the scope of the MWA’s exemption

16   for government institutions. Unlike Dawson, no discrimination exists because GEO, as a private

17   company doing business in Washington, is treated the same under state law whether it deals with

18   the federal or state government (or any other government entity). See ECF No. 155

19   (Washington’s brief addressing MWA exemption for government institutions in detail).

20              In short, the Proposed Order is incorrect where it states that the “lesson” from Dawson

21   is that the Court “must determine whether the State is treating a similarly situated federal entity

22   differently than it is treating itself, and if it is doing so, whether the difference is discriminatory

23   against the federal governments and its contractors.” ECF No. 306-1 at 6. Instead, Dawson

24   supports Washington’s analysis and the Court’s original ruling, requiring the comparison to

25   focus on whether GEO (a private company doing business with the federal government) is

26


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1    treated differently from other similarly situated entities (private companies doing business with

2    the state). Since it is not, Dawson provides no support to the Court’s Proposed Order.

3
            3.      The Ninth Circuit’s Decision in United States v. California Also Shows that
4                   Intergovernmental Immunity Does Not Apply Here

5           Respectfully, the Court additionally errs by relying on United States v. California to hold

6    that private contractors are equivalents of the federal government. ECF No. 306-1 at 7. That

7    decision is clear that neutral and generally applicable rules, like Washington’s MWA, apply to

8    federal contractors—even if they run an immigration facility that holds federal detainees.

9           In California, the Ninth Circuit analyzed the United States’ intergovernmental immunity

10   challenges to three separate California statutes: AB450, which established employer notice

11   requirements before federal inspections; AB103, which imposed inspection requirements on

12   facilities that house federal civil immigration detainees; and SB54, which limited cooperation

13   between state/local law enforcement and federal immigration officials. 921 F.3d at 872-73. The

14   Ninth Circuit rejected the United States’ claims of intergovernmental immunity as to all three

15   statutes, with the single exemption of one subsection in AB103, and even then, only to the extent

16   that it “d[id] not merely replicate” the generally applicable inspection requirements for all other

17   detention facilities. Id. at 883. The only intergovernmental immunity issue existed where that

18   subsection imposed unique, heightened, and specialized requirements on “federal operations—

19   and only federal operations.” Id. at 882-83.

20          The Court’s holding exemplifies the “functional” approach required by North Dakota.

21   Specifically, the Ninth Circuit rejected the United States’ intergovernmental immunity challenge

22   to the whole of AB103, which imposed regulatory inspection requirements on all facilities

23   housing immigration detainees, because most of those requirements were the same as the

24   requirements placed on other detention facilities under California law. In other words, to the

25   extent the state’s inspection requirements were neutral and generally applicable—not specialized

26   and heightened burdens placed only on the institutions housing federal immigration detainees—


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1    they posed no intergovernmental immunity problem, even if those facilities were run by federal

2    contractors. California, 921 F.3d at 882-83. The only portion of AB103 the Court struck down

3    was a single subsection that imposed heightened requirements only on institutions holding

4    federal detainees—requirements above and beyond the general inspection scheme for other

5    facilities, or in other words, a “specialized burden” on those facilities holding federal detainees.

6    Id. California’s analysis is therefore no different from the Ninth Circuit’s decision in Boeing,

7    which this Court previously distinguished, where the Ninth Circuit struck down specialized and

8    heightened requirements imposed on a specific federal cleanup project being completed by a

9    contractor. See Boeing Co. v. Movassaghi, 768 F.3d 832, 842 (9th Cir. 2014) (state regulation

10   that imposed heightened environmental cleanup standards at a single location subjected to

11   cleanup by federal contractor).

12            The California holding, like the holding in Boeing, shows why intergovernmental

13   immunity does not apply here. Unlike those cases, Washington’s MWA applies equally to all

14   private employers in Washington. It imposes no specialized or heightened burden solely on

15   federal contractors based on their status as federal contractors. It is accordingly like the portions

16   of AB103 that the Ninth Circuit upheld in California. The fact that the Ninth Circuit recognized

17   that federal contractors may benefit from the doctrine of intergovernmental immunity when

18   faced with a targeted, discriminatory law—a point not in dispute—does not change this

19   fundamental principle. Courts have long recognized that contractors may benefit from an

20   intergovernmental immunity challenge where the subject law is discriminatory and imposed

21   based on one’s status as a federal contractor. See North Dakota, 495 U.S. at 434-45; Boeing, 768

22   F.3d at 842. That point, however, does not support the Court’s conclusion here that federal

23   contractors are equivalent to the federal government and exempt from even non-discriminatory

24   laws.

25            In fact, the Ninth Circuit’s suggestion that “federal contractors are treated the same as

26   the federal government itself” for purposes of intergovernmental immunity is expressly limited


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1    by the supporting citation, Goodyear Atomic Corp. v. Miller, 486 U.S. 174, 181 (1988).

2    California, 921 F.3d at 882 n.7. In Goodyear, a “direct state regulation” case, regulation of the

3    federal contractor was deemed to be regulation of the federal government directly because the

4    contractor was performing a federal function within a federally owned facility. 486 U.S. at 180-

5    81 (contractor performed at a “federally owned nuclear production facility”). That is certainly

6    not the case here, where GEO alone owns the NWDC. ECF No. 253-1 at 5 (RFA 1). To hold

7    otherwise would misread California and contravene well-established Supreme Court authority,

8    including Goodyear and North Dakota. Indeed, such a ruling is foreclosed by California’s

9    binding holding that a state properly regulated institutions where federal civil immigration

10   detainees were held so long as it did not impose a specialized and unique burden on those

11   facilities.

12   B.      The Court’s Proposed Order Dismisses Washington’s MWA Claim Without a
             Sufficient Factual Record
13
             1.      The Proposed Order, Like GEO, Relies on Incomplete and Inaccurate Facts
14                   About State-Contracted Detention
15           In proposing to dismiss Washington’s MWA claim, the Court assumes facts not in

16   evidence and rules without the benefit of critical facts; specifically, the fact that similarly situated

17   private contractors in Washington must—and do—comply with Washington’s MWA.

18           As an initial matter, the Court’s reliance on allegations contained in complaints filed in

19   other actions―apparently to conclude that “facts are not in issue” in this case, ECF No. 306-1

20   at 8 n.3―respectfully, is improper. Allegations in Malone v. Ferguson, No. 19-5574 (W.D.

21   Wash. June 24, 2019), and Lough v. Ferguson, No. 19-5543 (W.D. Wash. June 14, 2019), are

22   no substitute for facts that the record in this case may or “may not reflect.” Cf. ECF No. 306-1

23   at 8 n.3. GEO’s counsel inexplicably filed the Malone complaint after oral argument and the

24   Court correctly declined to consider it. Regardless, neither complaint suggests Washington’s

25   MWA discriminates against the federal government. Both Malone and Lough are at the pleading

26   stage and challenge the state government’s failure to pay the minimum wage at its Special


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1    Commitment Center. Even if the facts alleged in Malone and Lough are true, the Special

2    Commitment Center is a government owned and operated facility that provides mental health

3    treatment and rehabilitation for civilly committed sex offenders in Washington, and is statutorily

4    exempt from Washington’s MWA. Declaration of Byron Eagle in Support of Washington’s

5    Response to the Court’s Proposed Order Granting Summary Judgment of Dismissal (Eagle

6    Decl.) ¶ 3; Declaration of Sean Murphy in Support of Washington’s Response to the Court’s

7    Proposed Order Granting Summary Judgment of Dismissal (Murphy Decl.) ¶ 4. The Special

8    Commitment Center is not a proper comparator to the Northwest Detention Center, a facility

9    privately owned and operated by GEO.4

10            A proper comparison for purposes of the intergovernmental immunity analysis would be

11   privately owned and operated facilities with which the State contracts, such as facilities where

12   residents are sent after their commitment at the Special Commitment Center. The Assistant

13   Secretary of the Department of Social and Health Services (DSHS) explains that, after

14   completing required treatment and being deemed safe to house outside of the Special

15   Commitment Center, DSHS places residents in residential facility programs, operated either

16   directly by DSHS or by a private contractor. Murphy Decl. ¶ 4. Where the facility is run by a

17   private contractor, residents have vocational opportunities that the contractor provides support

18   in finding and maintaining. Id. ¶¶ 8, 12-13. Washington’s MWA applies when residents work

19   in community-based jobs while housed in a facility run by a private contractor. Id. ¶¶ 11-13. In

20   other words, Washington’s MWA treats private detention providers the same—requiring that

21   their residents make minimum wage for work performed—regardless of whether the contractor

22   deals with the federal or state government.

23

24            4
                Even more, if the Court could properly compare private contractors to the state government, the Special
     Commitment Center, which provides mental health treatment and rehabilitation to sex offenders, is still not similarly
25   situated to GEO, which provides no such services. See Hernandez v. Sessions, 872 F.3d 976, 990 (9th Cir. 2017)
     (observing that the purpose of immigration detention is to protect the public and to ensure the immigrant’s
26   appearance at hearings, nowhere referring to rehabilitation).


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1           Similarly, when the Washington Department of Corrections (DOC) relies on private

2    contractors in Washington for services, those private contractors must also pay the minimum

3    wage. As DOC’s Work Release Administrator submits in his declaration, state inmates nearing

4    the end of their sentence may be assigned to work-release facilities, three of which are state-run

5    and nine of which are run with assistance from private contractors. Declaration of Theodore

6    Lewis in Support of Washington’s Response to the Court’s Proposed Order Granting Summary

7    Judgment of Dismissal (Lewis Decl.) ¶ 4. If the state inmate is assigned to a private facility and

8    works within that private work-release facility, such as in food service, state inmates are

9    employed by the contractor and paid the minimum wage, and sometimes more. Lewis Decl. ¶ 6.

10          Neither GEO’s citation to its own contract with DOC, or vague reference to other private

11   contracts with DOC in oral argument, render GEO immune. DOC contracted with GEO pursuant

12   to its authority under Wash. Rev. Code. § 72.68.040, which authorizes the detention of state

13   inmates outside the State of Washington. DOC never relied on GEO’s services in Michigan

14   pursuant to that contract. Declaration of Debra Eisen in Support of State of Washington’s

15   Response to the Court’s Proposed Order Granting Summary Judgment of Dismissal (Eisen

16   Decl.) ¶¶ 5-6. The GEO-DOC contract was executed so that DOC may have access to extra bed

17   space in the event that both DOC was not able to place inmates in their own facilities or other

18   governmental facilities, which never transpired. Eisen Decl. ¶ 7. Although the never-used GEO-

19   DOC contract contemplated the payment of wages below Washington’s minimum wage, that

20   makes sense as Washington’s MWA could not apply in Michigan. And just as Washington

21   cannot enforce the MWA outside of Washington for state detainees, it also cannot enforce the

22   MWA outside of Washington for federal detainees, with the result that treatment of out-of-state

23   contractors is exactly equal:

24

25

26


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1                              Does the Washington State Minimum Wage Apply?

2                                    Government              Private Contract          Private Contract
3                                    Institution             Facility In-State         Facility Out-of-State

4
          Federal Detainees          No                      Yes                       No
5
          State Detainees            No                      Yes                       No
6
             2.       The Proposed Order Will Have Significant Consequences that the Court
7                     Fails to Consider

8            Finally, the problem with providing private contractors the exact same intergovernmental
9    immunity defense as the federal government, as the Court proposes to do here, is evident through
10   real-world examples. Given the clear differences between government institutions and private
11   businesses, a myriad of generally applicable state laws treat government entities differently than
12   private businesses.
13           For example, the Washington Department of Labor & Industries (L&I) enforces the
14   Washington Industrial Safety and Health Act of 1973 (WISHA). Declaration of Lezlie A. Perrin
15   in Support of Washington’s Response to the Court’s Proposed Order Granting Summary
16   Judgment of Dismissal (Perrin Decl.) ¶ 3. Although the federal government is exempt from
17   WISHA, L&I’s Department of Occupational Safety and Health routinely inspects private
18   contractors operating businesses on federal land or in federal buildings.5 Perrin Decl. ¶ 4, Ex. A
19   (observing that L&I’s authority to investigate federal contractors on federally owned or leased
20   land for failure to comply with WISHA regulations has long been recognized, including the
21   example of private security contractors at the federal courthouse in Tacoma). In suggesting that
22   federal contractors must be treated exactly the same as the federal government, the Court’s
23   Proposed Order undermines the applicability of such basic regulations and could exempt private
24   businesses from a myriad of laws designed to protect Washington residents in the workplace.
25
             5
                L&I also reviews complaints of workplace safety within state DOC facilities, including of state inmates
26   in their work programs. Perrin Decl. ¶ 5.


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1           Consideration of Washington’s generally applicable tax statutes leads to the same

2    conclusion. Washington’s tax statutes treat governments (both federal and state) differently than

3    private contractors. Declaration of Kathy Oline in Support of Washington’s Response to the

4    Court’s Proposed Order Granting Summary Judgment of Dismissal (Oline Decl.) ¶ 3;

5    Declaration of Mark Mullin in Support of Washington’s Response to the Court’s Proposed Order

6    Granting Summary Judgment of Dismissal (Mullin Decl. ) ¶ 3. As the Assistant Director of

7    Legislation and Policy for the Washington Department of Revenue explains, private contractors

8    (whether they contract with the federal government, state government, or both) are subject to tax

9    statutes that the federal and state government are exempt from. Mullin Decl. ¶ 3 For example,

10   private contractors that own taxable real property, like GEO or Boeing, are subject to real estate

11   taxes—unlike state and federal governments that own real property and are exempt. Id. ¶¶ 3-4.

12   Private contractors are also subject to other taxes that, again, the state and federal governments

13   do not pay. Id. ¶¶ 5-7. Given the number of for-profit companies performing federal contracts in

14   Washington, a rule that equates some or all of them with the federal government, and thereby

15   exempts them from generally applicable tax statues, could implicate hundreds of millions of

16   dollars in annual state revenue. Oline Decl. ¶¶ 5-18.

17          In sum, the implication of the Court’s proposed analysis is that private businesses could

18   be rendered exempt from all generally applicable state laws and taxes simply by virtue of a

19   contract with the federal government, with devastating consequences. Id. at ¶¶ 13-19. Under

20   North Dakota, this cannot be. Intergovernmental immunity simply prohibits Washington from

21   discriminating against private businesses because they are in contract with the federal

22   government, but it does not require Washington to treat private businesses with federal contracts

23   better than other private businesses that do business in the state. Because similarly situated

24   private businesses in Washington must comply with Washington’s MWA whether they contract

25   with the state or not, so too must GEO.

26


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1    C.     The Court’s Proposed Order Would Improperly Dismiss Washington’s Unjust
            Enrichment Claim
2

3           The Court’s Proposed Order summarily proposes to dismiss Washington’s unjust

4    enrichment claim, as a result of its intergovernmental immunity analysis, despite GEO never

5    seeking such relief. In so doing, the Court mistakenly conflates the State’s separate and

6    alternative claims and treats unjust enrichment as if it were dependent on, or derivative of, the

7    MWA. See ECF No. 306-1 at 8. It is not. Washington’s retrospective unjust enrichment claim

8    involves entirely different elements than the standards at issue in its future-looking, statutory,

9    MWA claim. Sua sponte dismissal of Washington’s unjust enrichment cause of action on the

10   sole basis that its MWA claim is purportedly barred by intergovernmental immunity would

11   constitute reversible error.

12          1.      The Court’s Proposed Dismissal of Washington’s Unjust Enrichment Claim
                    Would Constitute Procedural Error
13

14          A Court commits procedural error in dismissing a claim on summary judgment in the

15   absence of a motion from the defendant if there is not sufficient notice or opportunity to be heard

16   on the relevant evidence and law. Albino v. Baca, 747 F.3d 1162, 1176 (9th Cir. 2014); Fed. R.

17   Civ. P. 56(f). That rule applies in three ways here.

18          First, there has been no motion, or briefing, applying intergovernmental immunity to

19   Washington’s unjust enrichment claim. GEO moved for summary judgment in 2018 on grounds

20   of intergovernmental immunity with regard to Washington’s MWA claim only. See ECF No. 149

21   at 1, 15 (“Defendant GEO’s Motion for Summary Judgment on Plaintiff’s First Cause of Action”

22   explicitly sought “summary judgment on the Complaint’s First Cause of Action”). As such, all

23   of the briefing filed by the parties in relation to that motion, as well as the order denying the

24   motion, pertained exclusively to the MWA claim. See id.; Washington’s Resp. to GEO’s Mot.

25   for Summ. J., ECF No. 155 at 7 (“Intergovernmental immunity is no bar to Washington’s

26   minimum wage claim…”); GEO’s Reply in Supp. of Mot. for Summ. J. on Pl.’s First Cause of


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1    Action, ECF No. 160; Order Denying Def. The GEO Group, Inc.’s Mot. for Summ. J. on Pl.’s

2    First Cause of Action, ECF No.162 ; GEO’s Mot. for Recons. of Order Denying Mot. for Summ.

3    J. on First Cause of Action, ECF No. 164 ; Order Denying GEO’s Mot. for Recons. of Order on

4    First Cause of Action, ECF No. 165.

5           Although the United States recently filed a Statement of Interest asserting

6    intergovernmental immunity, the United States likewise only claimed that defense precluded

7    Washington’s MWA claim against GEO. ECF No. 290 at 2 (“The United States accordingly

8    submits that the doctrine of intergovernmental immunity precludes application of Washington’s

9    Minimum Wage Act . . . to the GEO Group, Inc. . . .”). Thus, the subsequent briefing on

10   intergovernmental immunity focused on the MWA claim alone. See Washington’s Resp. to

11   GEO’s Mot. for Recons. and United States’ Statement of Interest, ECF No. 297 at 11-24; United

12   States’ Suppl. Statement of Interest in Reply to Washington’s Resp., ECF No. 298. But see

13   GEO’s Reply Supporting Recons. of Summ. J. Order, ECF No. 299 at 9.

14          Only on Reply in the most recent round of briefing did GEO even reference “unjust

15   enrichment,” and then only in a heading and two off-hand references to the “fair-market wage.”

16   ECF No. 299 at 9 (titling Section III of its brief as “The State’s Application of the MWA and

17   State Unjust Enrichment Laws is a Prohibited ‘Direct Regulation’ Pursuant to Intergovernmental

18   Immunity”); ECF No. 299 at 10-11 (twice referencing the “fair-market wage” in an argument

19   that “the MWA . . . cannot be applied to GEO”). GEO advanced no argument for the application

20   of intergovernmental immunity to the actual elements of Washington’s unjust enrichment claim

21   at oral argument, nor did the Court ask any questions about it. See Declaration of Marsha Chien

22   in Support of Washington’s Response to the Court’s Proposed Order Granting Summary

23   Judgment (Chien Decl.) ¶ 3, Ex. A (transcript of September 12, 2019 oral argument). Because

24   GEO only suggested, for the first time on reply and without actual briefing, that

25   intergovernmental immunity applies to the State’s unjust enrichment claim, the State has not had

26   a meaningful opportunity to respond.


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1           Second, the Court has not provided the State sufficient notice to dismiss the unjust

2    enrichment claim. Under Federal Rule of Civil Procedure 56(f), “the court may . . . consider

3    summary judgment on its own,” but it may do so only “after identifying for the parties material

4    facts that may not be genuinely in dispute,” and “[a]fter giving notice and a reasonable time to

5    respond.” “Where the district court grants summary judgment in the absence of a formal

6    motion,” the Ninth Circuit will “review the record closely to ensure that the party against whom

7    judgment was entered had a full and fair opportunity to develop and present facts and legal

8    arguments in support of its position.” Portsmouth Square Inc. v. S’holders Protective Comm.,

9    770 F.2d 866, 869 (9th Cir. 1985) (citing Cool Fuel, Inc. v. Connett, 685 F.2d 309, 312 (9th Cir.

10   1982)); see also Albino, 747 F.3d at 1176 (quoting Buckingham v. United States, 998 F.2d 735,

11   742 (9th Cir. 1993)) (“Reasonable notice implies adequate time to develop the facts on which

12   the litigant will depend to oppose summary judgment.”); Norse v. City of Santa Cruz, 629 F.3d

13   966, 971-72 (9th Cir. 2010); Portland Retail Druggists Ass’n v. Kaiser Found. Health Plan, 662

14   F.2d 641, 645 (9th Cir. 1981).

15          Here, the Court provided the State only ten days to respond to a Proposed Order that

16   provides little to no reasoning for dismissing the unjust enrichment claim. In its entirety, the

17   Proposed Order declares, without legal citation, that Washington’s unjust enrichment claim “is

18   based on the failure to pay” the minimum wage, “so the unjust enrichment claim fails as well.”

19   ECF No. 306-1 at 8. The analysis for dismissal is likely sparse because the Court has not

20   benefited from full briefing by the parties. Under these circumstances and until the Court more

21   completely gives notice of its factual and legal basis for proposing to dismiss the unjust

22   enrichment claim, Washington has not had reasonable notice or opportunity to be heard.

23   Compare ECF No. 306-1 at 8, with Fed. R. Civ. P. 56(a), (f)(3) (specifying that summary

24   judgment rules apply to “each claim,” and requiring court considering summary judgment on its

25   own to first “identify[] for the parties material facts that may not be genuinely in dispute” as to

26   each claim).


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1           Third and finally, the Ninth Circuit recently denied GEO’s Petition for Mandamus, ECF

2    No. 296, and GEO must now provide the State all of the financial documents and information

3    compelled by this Court as relevant to the unjust enrichment claim. ECF No. 133. Thus, at a

4    minimum, the Court should correct its procedural error and decline to enter judgment on

5    Washington’s unjust enrichment claim until after GEO produces the additional evidence that

6    Washington may use to prove unjust enrichment and avoid summary judgment. See Fed. R. Civ.

7    P. 56(d) (allowing the court to defer consideration of a dispositive motion so that a nonmovant

8    can take discovery); Declaration of Andrea Brenneke in Support of State of Washington’s

9    Response to the Court’s Proposed Order Granting Summary Judgment of Dismissal (Brenneke

10   Decl.) ¶¶ 3-9 (confirming GEO’s failure to produce evidence regarding unjust enrichment

11   ordered by this Court and the Ninth Circuit).

12
            2.      The Court’s Proposed Order Substantively Errs in Conflating the Unjust
13                  Enrichment and MWA Claims

14          Even assuming arguendo that it is procedurally proper to dismiss Washington’s entire

15   case, the only “material fact” the Court noted in its single-sentence explanation for dismissing

16   the unjust enrichment cause of action―that “[t]he State’s demand for damages for unjust

17   enrichment is based on the failure to pay the State of Washington’s Minimum Wage act wages,”

18   ECF No. 306-1 at 8—is incorrect as a matter of law and factually disputed.

19                  a.     The unjust enrichment and statutory MWA claims are legally distinct
20          First, Washington’s common law cause of action for unjust enrichment is a well-

21   established, stand-alone claim, independent of any state statute or contract; indeed, unjust

22   enrichment “is founded on notions of justice and equity.” Young v. Young, 191 P.3d 1258, 1263

23   (Wash. 2008). In Washington, unjust enrichment occurs “when one retains money or benefits

24   which in justice and equity belong to another.” Bailie Commc’ns, Ltd. v. Trend Bus. Sys., Inc.,

25   810 P.2d 12, 18 (Wash. Ct. App. 1991). “Unjust enrichment is the method of recovery for the

26   value of the benefit retained absent any contractual relationship because notions of fairness and


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1    justice require it.” Young, 191 P.3d at 1262. Three elements must be established in order to

2    sustain a claim based on unjust enrichment: (1) the defendant receives a benefit; (2) the received

3    benefit is at the plaintiff’s expense (or stated alternatively, there is “an appreciation or knowledge

4    by the defendant of the benefit”; and (3) the circumstances make it unjust for the defendant to

5    retain the benefit. Id. (citing Bailie Commc’ns, Ltd., 810 P.2d at 18).

6            Washington pleaded its unjust enrichment claim separate and apart from the MWA claim.

7    In its Complaint, Washington set forth its Second Cause of Action, unjust enrichment, and its

8    related prayer for disgorgement to request that this Court use its equitable powers on behalf of

9    the public interest to divest GEO of the amount by which it has been unjustly enriched as a result

10   of utilizing detainee labor to operate the NWDC without paying adequate compensation. See

11   ECF No. 1-1 (Compl. ¶¶ 6.1-6.6, 7.5-7.6). While Washington’s Complaint also alleges facts and

12   claims related to the MWA and its first cause of action, the State need not succeed on a MWA

13   claim as a condition precedent to, or element of, its unjust enrichment claim and second cause

14   of action. Id. The Court itself has recognized that the State’s unjust enrichment claim, and the

15   disgorgement remedy it seeks, are separate and distinct from its MWA claim and injunctive relief

16   remedy. After extensive motions practice, this Court granted Washington’s Motion to Compel

17   GEO’s financial records that were sought specifically because the financial benefit GEO

18   received from detainee labor is relevant to the State’s unjust enrichment liability claim, as well

19   as the disgorgement remedy. See ECF No. 133 (Order); ECF No. 126 (Joint LCR 37 Motion);

20   ECF No. 142 (Mot. for Recons.); ECF No. 145 (Mot. for Certification of Interlocutory Appeal);

21   ECF No. 146 (Resp. to Mot. for Certification of Interlocutory Appeal); ECF No. 157 (Order

22   Denying Mot. for Certification of Interlocutory Appeal). The Ninth Circuit Court of Appeals,

23   after briefing and argument, upheld that ruling and denied GEO’s Petition for Mandamus. ECF

24   No. 296 (Order).

25           In the Ninth Circuit, because a plaintiff may bring alternative claims and causes of action

26   arising out of a common nucleus of facts, courts should not dismiss claims brought for unjust


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1    enrichment as duplicative or superfluous of other claims. Astiana v. Hain Celestial Grp., Inc.,

2    783 F.3d 753, 762-63 (9th Cir. 2015) (citing Fed. R. Civ. P. 8(d)(2)). In fact, courts routinely

3    recognize that claims for unjust enrichment exist separate and apart from minimum wage act or

4    other statutory claims. For example, the district court that addressed similar claims brought by

5    Colorado immigration detainees against GEO, and dismissed the GEO detainees’ Colorado

6    minimum wage act claim because of the narrow purpose of the Colorado statute, refused to

7    dismiss Plaintiffs' unjust enrichment claim. Menocal v. GEO Grp., Inc., 113 F. Supp. 3d 1125,

8    1133 (D. Colo. 2015). In so doing, the court noted that, though the minimum wage act claim “is

9    dismissed and not available,” “Plaintiffs are permitted to plead in the alternative,” as “the

10   remedies sought by the [minimum wage] claim and the unjust enrichment claim are different,

11   and the unjust enrichment claim is not duplicative.” Id.; see also Menocal v. GEO Grp., Inc.,

12   882 F.3d 905, 925-26 (10th Cir. 2018) (upholding unjust enrichment class action brought by

13   detainee workers against GEO); Astiana, 783 F.3d at 762 (reversible error to construe “quasi-

14   contract” cause of action as “duplicative or superfluous to [plaintiff’s] other claims”).

15          Of course, it makes sense that neither the United States nor GEO briefed that

16   Washington’s unjust enrichment claim should be barred by intergovernmental immunity.

17   Intergovernmental immunity cannot apply to Washington’s common law claim of unjust

18   enrichment as it is generally applicable and has no defined categories capable of discriminatory

19   application. Indeed, as the Court has noted, civil detainees of Washington’s Special Commitment

20   Center have brought unjust enrichment claims against the State challenging their pay for work

21   inside that government institution. ECF No. 306-1 at 8 n.3. Even if the Court continues to

22   improperly compare GEO to State institutions, instead of similarly situated private contractors,

23   intergovernmental immunity does not apply. There can be no claim of discrimination with regard

24   to the application of the unjust enrichment cause of action.

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      STATE OF WASHINGTON’S RESPONSE TO                    21             ATTORNEY GENERAL OF WASHINGTON
                                                                                   Civil Rights Division
      THE COURT’S PROPOSED ORDER                                               800 Fifth Avenue, Suite 2000
      GRANTING SUMMARY JUDGMENT OF                                               Seattle, WA 98104-3188
      DISMISSAL                                                                       (206) 464-7744
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1                   b.     The unjust enrichment claim relies on different facts than the MWA
                           claim—facts that are either disputed or have been resolved in favor
2                          of Washington

3           Because none of the elements of an unjust enrichment claim requires proof of a MWA

4    violation, it would be an error of law for the Court to dismiss Washington’s unjust enrichment

5    claim on the mistaken grounds that its claim is “based on the failure to pay the State of

6    Washington’s Minimum Wage Act wages.” Cf. ECF No. 306-1 at 8 (emphasis added). GEO’s

7    decision to pay $1 per day and not statutory minimum wages is an undisputed fact that supports

8    the State’s unjust enrichment claim, but the claim itself is based on completely different facts.

9    Namely, the State’s unjust enrichment claim is based on the facts that GEO utilizes detainee

10   labor to operate NWDC, a for-profit business; does not pay a fair wage to detainees for their

11   work; benefits by retaining the difference between the $1 per day that it pays detainees and the

12   fair wage that it should pay for work performed at NWDC; and that it is unjust for GEO to retain

13   the benefit gained from its practice of failing to pay adequate compensation to detainees for the

14   work they perform at NWDC. ECF No. 1-1 (Compl. ¶¶ 6.1-6.6).

15          Record evidence, most of which is undisputed, supports each of the elements of unjust

16   enrichment. GEO benefits from detainee labor at the NWDC, both operationally and financially.

17   GEO staffs its kitchen, laundry, janitorial, and barbershop with detainee-workers, who work

18   shifts throughout the day and the evening. See ECF No. 251 at 3-16. Hundreds of detainees work

19   in the NWDC every day, at specific locations and in assigned shifts that last from half an hour

20   to six hours at a time. ECF No. 251 at 3; ECF No. 253-10 (GEO 30(b)(6) Dep. 150:2-24, 157:6-

21   9); ECF No. 253-25 (table of daily jobs and hours worked broken down by pod/living area and

22   the locations outside the housing units where detainees work). GEO gains an operational benefit

23   by using detainee-workers to complete its own contractual duties under the GEO-ICE contract

24   and meet its audit standards. Compare ECF No. 246-3 (GEO-ICE Contract) at 57-58, 83 (listing

25   GEO’s contract responsibilities of ensuring the facility is “clean and vermin/pest free;”

26   laundering, changing, and distributing linens; and preparing meals), with ECF No. 253-15 (RFAs


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1    23-44) (confirming the VWP jobs are the same work as GEO’s contract responsibilities of

2    cleaning common areas, doing laundry, and preparing food).

3           Given its practice of leveraging relatively large numbers of detainee workers, and paying

4    them $1 per day, instead of paying a prevailing wage to work-eligible detainees or Tacoma-area

5    residents who also could do the work, GEO benefits financially from detainee labor. Although

6    Washington still lacks complete information about the full amount of financial benefit GEO has

7    received from detainee labor at the NWDC, see ECF Nos. 133, 296, the undisputed evidence in

8    the record is that NWDC has been exceptionally profitable from 2005-present, exceeding the

9    margin of profit built into the ICE-GEO contract. Critically, the undisputed evidence shows that

10   GEO would have profitted even if GEO had paid the minimum wage or a fair wage to detainee

11   workers. See ECF No. 268-5 (Washington’s expert report and supplemental expert report with

12   appendices). In addition, there is record evidence that GEO benefits at the expense of detainee

13   workers who earn less than fair wages, only $1/day, but perform work anyway because it

14   provides the only opportunity to earn money needed to stay in touch with loved ones and to

15   supplement the limited food and personal hygiene rations they receive. See ECF Nos. 268-6 to

16   268-11.

17          In sum, Washington’s unjust enrichment claim is separate and apart from its MWA claim

18   and requires the parties to present evidence that addresses the core questions posed by the Court

19   and that lie at the heart of this litigation: “But what of GEO’s detainees? . . . Is GEO unfairly

20   profiting by misuse of the Voluntary Work Program?” ECF No. 306-1 at 9. This Court, sitting

21   in equity in this litigation, has the authority to answer these questions, determine if GEO has

22   benefitted from detainee labor, and if so, decide if it is unjust for GEO to keep that benefit

23   without disgorgement. Rather than summarily dismiss the unjust enrichment claim, the Court

24   should properly adjudicate it following the presentation of evidence at trial.

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1                                       III.   CONCLUSION

2           The Court should decline to enter its Proposed Order. It contains important errors of law

3    and improperly dismisses the case. Instead, the Court should leave its prior order denying GEO

4    summary judgment based on intergovernmental immunity undisturbed. In the alternative, the

5    Court should decline to reach the unjust enrichment claim.

6           Dated this 4th day of October 2019.

7                                                 Respectfully submitted,
8                                                 ROBERT FERGUSON
                                                  Attorney General of Washington
9

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 1                                 CERTIFICATE OF SERVICE
 2          I hereby certify that the foregoing document was electronically filed with the United
 3   States District Court using the CM/ECF system. I certify that all participants in the case are
 4   registered CM/ECF users and that service will be accomplished by the appellate CM/ECF
 5   system.
 6

 7   Dated this 4th day of October 2019 in Seattle, Washington.
 8                                               s/ Caitilin Hall
                                                 Caitilin Hall
 9                                               Legal Assistant
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                                                                              Civil Rights Division
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